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DECLARATION OF VINITA SMITH
PATIENT AT SAINT ELIZABETHS HOSPITAL

I, Vinita Smith, certify under penalty of perjury that the following statement is true and correct.

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I am fifty-seven years old and a patient at Saint Elizabeths Hospital in Unit 1F. I am
diagnosed with schizo-affective disorder that requires medication and therapy. I am
indefinitely, involuntarily civilly committed to the District’s care.

My Unit, Unit 1F, houses up to 27 women. I have a single room, but other patients in my
Unit are residing in a room with another patient.

During the week of April 27, 2020, I was tested for COVID-19. To administer the tests,
staff instructed us to go to a courtyard one at a time where staff conducted a nasal swab
and sent it for testing. I was scared, so a staff member I trust came with me and held my
hand.

Today, I had a second test and I am waiting for the results.

My understanding is that all patients in my unit were tested and no one in my unit
currently has COVID-19.

Since April 27, 2020, I have only received individual therapy one time per week via a
webcam with my typical therapist, Dr. Edwards.

Prior to COVID-19, I participated in group therapy as well, including “Women’s Coping”
and “Current Events.” I attended those group therapies in the Therapeutic Learning
Center (TLC) two times per week. Since COVID-19 was found at the hospital, there has
not been any group therapy, even on my unit, and I have not participated in any group
therapy in weeks.

No new patients have been admitted to my Unit since my April 17, 2020 declaration.

I observe that there are fewer nurses on my unit in the last few weeks. | believe they have
been assigned to other units in the hospital.

The hospital staff has placed “do not sit” signs on middle seat of the couch in our patient
lounge, we each have to eat at our own table for meals, with a total of five patients in the
dining hall at a time, and they placed tape on the floor six feet apart for us to line up for
medication. Unfortunately, a patient tore the tape up off the ground and it has not been
replaced.

While we can go into the courtyard in our unit, we have not been outside. I am not sure if
I am permitted to go outside.

Instead of participating in therapy and my typical activities when the hospital is
functioning normally, I have been spending most of my days sleeping.

I asked my Social Worker about community placements, including housing from the
Department on Disability Services Developmental Disability Administration but she said
I would not qualify. She has not mentioned any other community housing options to me,
even though I want to leave the hospital as soon as possible.

While I am trying to stay positive and “hang in there,” I am bored and want to be released
from the hospital.

I, Stephanie Maldonado, certify that the foregoing was read to Ms. Smith and that she affirmed
that the foregoing is true and correct on May 13, 2020.
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I declare under penalty of perjury that the foregoing is true and correct.

 
